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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                  Case Number 8:07CR375-002

                                                    USM Number 21897-047

EDWIN GUEVARA-PINEDA
                Defendant
                                                    DONALD L. SCHENSE

                                                    Defendant’s Attorney
___________________________________

                              JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT was found guilty on counts III and IV of the Indictment after a plea of not guilty
on December 20, 2007.

ACCORDINGLY, the Court has adjudicated that the Defendant is guilty of the following offenses:

                                                         Date Offense                Count
         Title, Section & Nature of Offense               Concluded                 Numbers


 18:922(g)(5)(A) and 924(a)(2) - ILLEGAL ALIEN IN     July 20, 2007                     III
 POSSESSION OF A FIREARM

 18:922(g)(5)(A) and 924(a)(2) - ILLEGAL ALIEN IN     August 31, 2007                   IV
 POSSESSION OF A FIREARM

The Defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the Defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the Defendant shall notify the Court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                  March 31, 2008

                                                                        s/Laurie Smith Camp
                                                                        United States District Judge

                                                                               April 7, 2008
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                                       IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 27 months, counts III and IV are grouped pursuant to U.S.S.G.
§ 3D1.2(b).

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the Defendant participate in the 500-hour Comprehensive Drug Treatment
        Program or any similar drug treatment program available.

2.      That the Defendant be incarcerated in a federal facility as close to Omaha, Nebraska
        as possible.

3.      Defendant shall be given credit for time served from October 23, 2007.

The Defendant is remanded to the custody of the United States Marshal.

                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________,
______

                                                           _____________________________
                                                                   Signature of Defendant

                                             RETURN

It is hereby acknowledged that the Defendant was delivered on the ____ day of
_______________, _____ to _________________________________, with a certified copy of
this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                  By:__________________________________

NOTE: The following certificate must also be completed if the Defendant has not signed
the Acknowledgment of Receipt, above.

                                         CERTIFICATE
It is hereby certified that a copy of this judgment was served upon the Defendant this ____ day
of _______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                  By:__________________________________
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                                    SUPERVISED RELEASE

Upon release from imprisonment, the Defendant shall be on supervised release for a term of 3
years.

The Defendant shall report to the probation office in the district to which the Defendant is
released within 72 hours of release from the custody of the Bureau of Prisons.

The Defendant shall not commit another federal, state or local crime.

The Defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The Defendant shall not unlawfully possess a controlled substance. The Defendant shall
refrain from any unlawful use of a controlled substance. The Defendant shall submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the Court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
Defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The Defendant must comply with standard conditions that have been adopted by this Court as
well as with any additional conditions on the attached page.

                        STANDARD CONDITIONS OF SUPERVISION

1.      The Defendant shall not leave the judicial district without the permission of the Court or
        probation officer;
2.      The Defendant shall report to the probation officer and shall submit a truthful and
        complete written report within the first five days of each month;
3.      The Defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The Defendant shall support his or her dependents and meet other family
        responsibilities;
5.      The Defendant shall work regularly at a lawful occupation, unless excused by the
        probation officer for schooling, training, or other acceptable reasons;
6.      The Defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The Defendant shall refrain from excessive use of alcohol and shall not purchase,
        possess, use, distribute, or administer any controlled substance or any paraphernalia
        related to any controlled substances, except as prescribed by a physician;
8.      The Defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The Defendant shall not associate with any persons engaged in criminal activity and
        shall not associate with any person convicted of a felony, unless granted permission to
        do so by the probation officer;
10.     The Defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The Defendant shall notify the probation officer within seventy-two hours of being
        arrested or questioned by a law enforcement officer;
12.     The Defendant shall not enter into any agreement to act as an informer or a special
        agent of a law enforcement agency without the permission of the Court;
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13.     As directed by the probation officer, the Defendant shall notify third parties of risks that
        may be occasioned by the Defendant’s criminal record or personal history or
        characteristics and shall permit the probation officer to make such notifications and to
        confirm the Defendant’s compliance with such notification requirement.



                             SPECIAL CONDITIONS OF SUPERVISION


1.      The Defendant shall cooperate in the collection of DNA as directed by the probation officer,
        pursuant to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for
        All Act of 2004), if such sample was not collected during imprisonment.

2.      Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely
        refraining from excessive use of alcohol, the Defendant shall not purchase or possess, use,
        distribute, or administer any alcohol, just the same as any other narcotic or controlled substance.

3.      The Defendant shall submit his or her person, residence, office, or vehicle to a search conducted
        by a United States Probation Officer at any time; failure to submit to a search may be grounds for
        revocation; the Defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

4.      The Defendant shall attend, pay for and successfully complete any diagnostic evaluations,
        treatment or counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or
        controlled substance abuse, as directed by the probation officer.

5.      The Defendant shall comply with all rules and regulations of the Bureau of Immigration Customs
        Enforcement and, if deported, shall not reenter the United States or reside therein without the
        express, written permission of the Secretary of the United States Department of Homeland
        Security.

6.      The Defendant shall not associate with any member, prospect, or associate member of any
        criminal street gang. If the Defendant is found to be in the company of such individuals while
        wearing the clothing, colors, or insignia of any known criminal street gang, the Court will presume
        that this association was for the purpose of participating in illegal gang activities.

7.      The Defendant shall provide the probation officer with access to any requested financial
        information.

8.      Pursuant to 18 U.S.C. § 3583 (d), the Defendant shall submit to a drug test within fifteen (15) days
        of release on supervised release and at least two (2) periodic drug tests thereafter to determine
        whether the Defendant is using a controlled substance. Further, the Defendant shall submit to
        such testing as requested by any probation officer to detect the presence of alcohol or controlled
        substances in the Defendant’s body fluids and to determine whether the Defendant has used any
        of those substances. Based on the Defendant’s ability to pay, the Defendant shall pay for the
        collection of urine samples to be tested for the presence of alcohol and/or controlled substances
        in an amount to be determined by the probation officer.

9.      The Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
        Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79,
        Omaha, Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement,
        and, thereafter, as directed by the probation officer.
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                              CRIMINAL MONETARY PENALTIES


        The Defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in this judgment.

       Total Assessment                      Total Fine                Total Restitution

             $200.00



The Court has determined that the Defendant does not have the ability to pay interest and it is
ordered that:

        interest requirement is waived.



                                               FINE

        No fine imposed.

                                          RESTITUTION

        No restitution was ordered.
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                                     SCHEDULE OF PAYMENTS

The Defendant shall pay the special assessment in the amount of $200.00.

The criminal monetary penalty is due in full on the date of the judgment. The Defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of
the criminal monetary penalty.

Without limiting the foregoing, and during the Defendant’s term of incarceration, the Defendant
shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the Defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the Defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly
installments of $100 or 3% of the Defendant’s gross income, whichever is greater; (b) the first
payment shall commence 30 days following the Defendant’s discharge from incarceration, and
continue until the criminal monetary penalty is paid in full; and (c) the Defendant shall be
responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the
following order of priority: special assessment; restitution; fine; and other penalties. Unless
otherwise specifically ordered, all criminal monetary penalty payments, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be
made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue
on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska,
111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The Defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The Defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the Court.

The Defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.
CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
